Case 1:20-cv-03514-UNA Document1 Filed 11/30/20 Page 1 of 7

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

Case: 1:20-cv-03514 Jury Demand

CLIFTON STANLEY DIAZ Assigned To : Unassigned
a Assign. Date : 11/30/2020
Plaintiff Description: Employ. Discrim. (H Deck)
No.

 

WASHINGTON METROPOLITAN AREA
TRANSIT AUTHORITY

Defendant

 

 

 
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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

CLIFTON STANLEY DIAZ JR )
PLAINTIFF )
)
VS. ) No.
)
WASHINGTON METROPOLITAN, )
AREA TRANSIT AUTHORITY, )
DEFENDANT )

COMPLAINT FOR EMPLOYMENT DISCRIMINATION,
BACKPAY AND DAMAGES AND DEMAND FOR JURY TRIAL,

I am pressing charges on the Washington Metropolitan Area Transit Police for
employment discrimination, backpay and damages, and demand for a jury trial to clear my
record. I left as a Sheriff in Washington, D.C and I am going back to them. I attended four police
academies. Northern Virginia, DC, and Maryland, and New York. Did they verify my Social
Security Number? My neighbor, Mr. George Smith, who lives across from me at 3751 Columbus
Drive Baltimore, Md 21215, said he told the City of Baltimore since the summer that there were
trees that needed to get cut down from the street. The City did nothing about them. Around
October 25, 2020, my 2001 Acura MDX Gray was hit by a tree on the street in front of my house
and hit my SUV on the front windshield. The damage was so bad that my neighbor Mr. Smith

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reported it to the City Councilman Sharon Middleton Green the next day in a letter. The City has
not done anything to fix the front windshield of my SUV. They refused to pay for it.

I have two SUV's. My 2001 Grey Acura MDX and my 2006 Grey Dodge Durango and
they are the same color SUV. I come from a family of Law Enforcement. I am taking classes at
Community College for Baltimore County. I give back to the community. I told my father about
the damage to the front windshield of my SUV. The City is refusing to pay for it, so I had to pay
for it myself. My father put the light in my car to take pictures and show the the City the damages
they refused to pay for. I believe this is in retailation from the City for having the light in the
front windshield. We reported it and never heard back and they knew about the damage and the
trees since summer. I signed for the title and my name is on the title. I had temporary registration
from Delaware good for six months because of the COVID-19 Emergency Order.

On May 30, 2013, the Washington Metropolitan Area Special Police asked that I become
a Special Officer. They let a white Police Officer pass from Anne Arundel County, Maryland and
he was having the same trouble I had. I did only minor stuff. I refused because I did not sign up
to be a Special Officer. I went to 600 Fifth Street, NW Washington DC 20001 at Metro
Headquarters and went to the Deputy Chief Jeffrey Delinski and he asked me if I had girlfriends.
I felt that was an inappropriate question and when I said "no," he laughed and chuckled and then
discharged me. The Chief did not like me because I was from New York. The question was asked
to determine my sexual orientation. They do not like New Yorkers. I worked as a Maintenance
Worker 2 for Anne Arundel County from November 16, 2017 to May 16, 2018 and loss my job
due to someone saying a racial comment and they thought I had something to do with it. I was in
the Metro Transit Police Department Employee Spotlight Magazine for an arrest at the Landover,
Maryland Metro Station with another Black Officer when we stopped a fare evasion and the
arrestee had a warrant out of Prince George's County, Maryland When the Black Chief left, they
started calling me names like "gay" and "faggot." I have my training syllabus # 20-001 from the
academy to field training. I am going back to them. All I have to do is field training. I finished
the police academy. Officer Nuihn with the Baltimore Police was the only officer that did not
have his body camera on. He transported me to Central Booking on November 22, 2020 at the
Marathon Gas Station. They have not one shred of evidence on me. My handcuffs were too tight
and I am suffering permanent nerve damage on my left shooting hand. The officer's changed the
metal handcuffs at least three times.

Sergeant Brian White asked me to put the same pair of pants. I had to go out on the street
and patrol and risk the same pair of pants I had on from the academy. I gained weight and I was
patrolling on the street. The pair of pants were too tight and I asked for a new pair of pants and he
signed off on them about May 15, 2013. He called me on the Memorial Day Holiday and I was
off on a Family Function and told me that I should resign. I was meeting with Dignitaries. He
called me and said I had purchased my own pair of pants. But they refused to issue me a new

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pair, so I had to go out and buy my own pair of pants. I did not lie about it. The pair I had on
were too tight. This is when I charged the Metro Transit Police Department on two counts on
sexual orientation/national origin and gender stereotype discrimination. I filed a complaint with
the Equal Employment Opportunity Commission (EEOC) and under the DC Human Rights Act
at the EEOC/Washington Field Office. The EEOC investigated my complaint under Age
Discrimination and Gender Stereotype. I was only allowed one witness in my disposition to the
Transit Police and the Police said Officer Dwayne Brown was available and then later said he
couldn't testify because he was out of town. Officer Dwayne Brown is also from Queens, New
York.

The EEOC then issued my Notice of Right to Sue because they only investigated Gender
Stereotype Discrimination and I didn't have an attorney. I filed a case in the United States District
and Bankruptcy Courts on March 24, 2015 to investigate my Gender Stereotype claim and the
case went to the United States Supreme Court. I have no record. I only want my job back.
Another female officer from New York who was gay they let have her job back. When I was
discharged, I did not sign anything. She was fired for having a domestic violence charge against
her girlfriend and the officer's name was Shakeya Walker. They do not like New Yorkers.

I am a member of the Fraternal Order of Police fought the charge on sexual orientation
and gave me my job back. The sexual orientation discrimination and gender stereotype charge is
about how Officer Jeidea positioned himself. I appealed two cases to the United States Supreme
Court and won. The BPD Female Officer said I think you're a criminal. I was the only Black
Hispanic Police Officer in my class and I am not a criminal I stated to the officer. After I didn't
understand my rights, they continued to talk and harass me. I didn't know what I was being
charged. She said because I told them I was Former Law Enforcement and going back to them, I
was being charged for Impersonating a Police Officer. I graduated from Co-op City Department
of Public Safety where I worked as a Peace Officer from February 16, 2016 to August 17, 2017.

As you may know, the City of Baltimore Police Department is under a Federal Consent
Decree from the United States Department of Justice under Judge James Bredar in the United
States District Court. Officer Jeidea called me a pathological liar. Officer Jeidea positioned
himself in the back of my vehicle to block me in as I got gas. He got out of his marked BPD Ford
Interceptor Utility in uniform and said the tags come back to a 2006 Dodge Durango not an
Acura. I have two cars. Did he verify my vehicle was on the street legally before he asked me for
my license? Did he check the tags came back to me? Did he repeat my rights back to me? He just
said we can't speak to you anymore because you don't know your rights. He positioned himself in
the back of my vehicle at a gas station and asked for license and registration. I have the title to
the vehicle because it was signed over to me. He didn't check the vehicle for tags. My tags were
legal and I had Delaware plates on the vehicle because I purchased it from Delaware. I have two
vehicles. I was only at the gas station to get gas. I have two cars. I am seeking damages of

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$670,000 including costs and attorney fees, I want my name cleared on all charges, and I would
like backpay. If I cannot get backpay, I just want my job back.

DEMAND FOR A JURY TRIAL

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I would like to demand a jury trial.

x

CLIFTON STANLEY DIAZ, JR. 11/25/2020
3758 Columbus Drive Apt. 2

Baltimore, Maryland 21215

(410)-218-2429

Respectfully submitted,

~
X
CLIFTON STANLEY DIAZ, JR. 11/25/2020
3758 Columbus Drive Apt. 2

Baltimore, Maryland 21215
(410)-218-2429

 
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CERTIFICATE OF SERVICE

I certify that on 11/25/2020 I have served a copy of the Court Complaint to all parties by USPS
First Class Mail.

CLIFTON STANLEY DIAZ, JR. 11/25/2020
3758 Columbus Drive Apt. 2

Baltimore, Maryland 21215
(410)-218-2429

 
 

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